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CO 109A - Rev. 3/2010

UNITED STATES DISTRICT AND BANKRUPTCY COURTS
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA

 

Civil/Criminal No.: _21-CR-599 (RBW)

VS.

 

DONNIE DUANE WREN AND
THOMAS HARLEN SMITH

 

NOTE FROM JURY

 

 

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Date: 4/24 (2023

 
